      Case 3:14-cr-03749-BAS   Document 30   Filed 02/05/15   PageID.90   Page 1 of 1

                                                                          FILED
                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA                    FEB 0 5 2015


UNITED STATES OF AMERICA,                    CASE NO.

                        Plaintiff,
                vs.                          JUDGMENT OF DISMISSAL
LUCILA HERNANDEZ      (02),

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-X-   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal: or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-X-   of the offense(s) as charged in the Indictment:

      21:952,960 - Importation of Methamphetamine: 18:2 - Aiding & Abetting



           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 2/5/15
                                             Ruben B. Brooks
                                             U.S. Magistrate Judge
